                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
SPARTA INSURANCE COMPANY               )
(as successor in interest to Sparta    )
Insurance Holdings, Inc.),             )
                                       )
               Plaintiff,              )
                                       )
       v.                              )                    Civil Action No.
                                       )                    21-11205-FDS
PENNSYLVANIA GENERAL                   )
INSURANCE COMPANY (now known           )
as Pennsylvania Insurance Company),    )
                                       )
               Defendant.              )
_______________________________________)


                      MEMORANDUM AND ORDER ON
        PARTIES’ CROSS-MOTIONS FOR JUDGMENT ON THE PLEADINGS

SAYLOR, C.J.

       This is a dispute arising from a stock-purchase agreement between two insurance

companies. Plaintiff SPARTA Insurance Company has sued defendant Pennsylvania General

Insurance Company seeking relief under the Declaratory Judgment Act, 28 U.S.C. § 2201,

related to a stock-purchase agreement and reinsurance agreement.

       SPARTA has moved for judgment on the pleadings on the ground that the agreements

require PGIC to administer, pay, and indemnify SPARTA for claims. PGIC has also moved for

judgment on the pleadings as to Count 1 on the ground that it should be dismissed for lack of

ripeness. For the following reasons, both motions will be denied.

I.     Background

       A.     Factual Background

       The following facts, unless noted otherwise, are set forth as alleged in the complaint.
Because this memorandum and order also addresses SPARTA’s motion for judgment on the

pleadings, the Court also will consider the allegations in PGIC’s pleadings.

        SPARTA Insurance Company, formerly known as SPARTA Insurance Holdings, Inc., is

a Connecticut corporation with headquarters in Farmington, Connecticut. (Compl. ¶ 7).

        Pennsylvania General Insurance Company (“PGIC”), now known as Pennsylvania

Insurance Company, is a Pennsylvania corporation with headquarters in Omaha, Nebraska. (Id.

¶ 8).

        American Employers’ Insurance Company (“AEIC”) is a Massachusetts insurance

corporation that has been acquired by SPARTA. (Id. ¶ 2).

        On June 15, 2005, AEIC and PGIC entered into a reinsurance agreement, under which

AEIC’s liabilities were apparently transferred and assumed by PGIC. (Id. ¶ 15; see generally

Reinsurance Agreement).1 AEIC and PGIC agreed to the following provisions in the reinsurance

agreement:

        By this Instrument, the liabilities and assets of [AEIC] shall be transferred to
        [PGIC] and [PGIC] shall thereby succeed to the liabilities and assets of [AEIC].

(Reinsurance Agreement § 2).

        Immediately as of the Effective Date and Time . . . [PGIC] shall be deemed to
        have assumed any and all of the liabilities and assets of [AEIC].

(Id. § 3).

        [T]he assets of [AEIC] as of the Effective Date and Time shall include any and all
        of [AEIC’s] assets of every nature and description of whatever kind and
        wheresoever situated including, without limitation . . . all underwriting contracts,
        including direct insurance policies and endorsements in respect thereto,
        reinsurance contracts, facultative contracts, retrocession agreements and any and
        all other underwriting contracts of every kind and description.


         1
           The complaint also refers to the reinsurance agreement as a “transfer and assumption agreement.” (See,
e.g., Compl. ¶ 2).


                                                         2
(Id. § 4).

        [T]he liabilities of [AEIC] as of the Effective Date and Time shall include any and
        all of [AEIC’s] liabilities or contractual commitments of every nature and
        description, whether absolute, accrued, contingent or otherwise or whether due
        now or in the future, including . . . any and all unpaid losses and loss adjustment
        expenses and any and all liabilities existing or arising in the future under Section
        4.a . . . [and] any and all subsequent actions, proceedings, or liabilities arising
        from any of the foregoing liabilities or the assets of [AEIC].

(Id. § 5).

        [PGIC] shall assume as 100% reinsurance . . . the following insurance business
        which is in force as of the Effective Date and Time: (a) the historical bond
        insurance business of [AEIC] (the “Retained Bonding Business”) and (b) the
        historical insurance business of [AEIC] in those states in which such business has
        unearned premium or unpaid loss and in which [PGIC] does not have an
        insurance license (the “Retained Non-Bonding Business”, and together with the
        Retained Bonding Business, the “Retained Business”) . . . [PGIC] shall, at its sole
        expense, perform any and all administrative functions for such Retained Business,
        including without limitation claims handling, underwriting and regulatory
        functions, and shall reimburse [AEIC] for any and all out of pocket expenses
        related thereto. [PGIC] shall 100% reinsure [AEIC] with respect to, and [AEIC]
        shall cede to [PGIC], all premiums, losses and expenses relating to such Retained
        Business as of the Effective Date and Time and as renewed by [AEIC] thereafter
        pending regulatory approvals.

(Reinsurance Agreement § 6).

        On March 12, 2007, SPARTA and PGIC entered into a stock-purchase agreement that

resulted in SPARTA acquiring AEIC from PGIC. (Compl. ¶¶ 2, 13). The transaction was

structured such that SPARTA would obtain AEIC as a “clean shell,” effectuated in part by the

reinsurance agreement, with no liabilities remaining in AEIC after consummation of the

transaction. (Id. ¶ 14). The reinsurance agreement was incorporated into the stock-purchase

agreement in several sections. (Id. ¶ 16). The parties also agreed to the following provision on

indemnity in the stock-purchase agreement:

        [PGIC] agrees to indemnify and hold [SPARTA] harmless of and from any loss,
        cost, expense, claim, interest, fine, penalty, deficiency, obligation, liability or
        damage, including, without limitation, reasonable attorneys’ fees, accountants’
        fees and other investigatory fees and out-of-pocket expenses, actually expended

                                                 3
       or incurred by [SPARTA] or [AEIC] (collectively, “Losses”), arising out of or
       resulting from (i) any breach of representation or warranty (including any
       misrepresentation in, or omission from, any certificate or other document
       furnished or to be furnished by [PGIC] to [SPARTA] hereunder), or
       nonfulfillment of any covenant or agreement on the part of [PGIC] under this
       Agreement; (ii) the failure by [PGIC] to perform any of its obligations under the
       Reinsurance Agreement; (iii) any Loss arising out of or resulting from the
       existence of [AEIC] prior to the Closing or the conduct of the Business or other
       operations by or of [AEIC] prior to the Closing; . . . and (vi) all actions, suits,
       proceedings, demands, assessments, judgments, costs and expenses incident to
       any of the foregoing (any and all of which are hereafter referred to as a “Claim”).

       [SPARTA] shall give [PGIC] written notice by certified or registered mail or
       overnight courier of any Claim with respect to which [SPARTA] seeks
       indemnification. [PGIC] shall have ten business days from the date of receipt of
       such notice to notify [SPARTA] that [PGIC] will assume the entire control of the
       defense, compromise or settlement (any and all of which are hereinafter referred
       to as “Defense”) of such Claim through its own attorneys, which attorneys must
       be reasonably acceptable to [SPARTA], and at its own expense. If [PGIC] shall
       assume such Defense, it shall promptly advise [SPARTA] of its activities and
       efforts in connection therewith and of the ultimate resolution of such Claim.
       [PGIC] shall have the right to settle, compromise or adjust any such Claim . . . .
       If [PGIC] fails to notify [SPARTA] that it has assumed the Defense or does not in
       fact assume the Defense, [SPARTA] may, but shall not be required to, pay,
       compromise or settle such Claim, or take such action to settle such Claim,
       provided that [SPARTA] shall notify [PGIC] of such action. In such event,
       [SPARTA] shall be fully entitled to indemnification hereunder.

(Id. ¶¶ 3, 17; Stock Purchase Agreement § 8.1).

       The stock-purchase agreement also establishes a procedure for valuation of claims arising

under the agreement:

       After [SPARTA] has determined the dollar amount of any Claim, [SPARTA]
       shall provide written notice to indemnifying party of the amount of such Claim,
       which notice shall include in reasonable detail information explaining calculation
       of the amount of such Claim.

(Stock Purchase Agreement § 8.3).

       That transaction closed on August 7, 2007. (Compl. ¶ 18). According to PGIC,




                                                  4
OneBeacon Insurance Company served as its guarantor for the 2007 transaction. (Answer at 2).2

For more than a decade afterward, SPARTA and its affiliates have tendered liabilities for

insurance policies issued by AEIC, which were administered and paid pursuant to the stock-

purchase and reinsurance agreements. (Compl. ¶¶ 3, 19). According to PGIC, OneBeacon, not

PGIC, received and paid claims from SPARTA during this period. (Answer at 9). According to

the complaint, in May 2021, SPARTA learned that claims made pursuant to AEIC policies were

no longer being administered or paid. (Compl. ¶¶ 4, 20). In each of May, June, July, August,

and September 2021, SPARTA contacted PGIC concerning requests for indemnity for claims

arising out of AEIC policies. (Id. ¶¶ 4, 21). SPARTA allegedly requested confirmation that

PGIC would satisfy its contractual obligations under the stock-purchase and reinsurance

agreements to administer and pay all claims arising out of AEIC policies. (Id.). According to

the complaint, as of the filing of this lawsuit, PGIC had not agreed to do so. (Id.). According to

PGIC, SPARTA did not tender claims for indemnity in accordance with the indemnification

procedures set forth by the stock-purchase agreement (Answer ¶ 4).

        B.       Procedural Background

        On October 4, 2021, SPARTA filed an amended complaint seeking a declaratory

judgment. The amended complaint asserts two claims. Count 1 asserts a claim for declaratory

judgment pursuant to 28 U.S.C. §§ 2201, 2202 seeking a judicial determination of the rights of

SPARTA and PGIC under the stock-purchase agreement. (Compl. ¶¶ 24-27). Count 2 similarly

asserts a claim for declaratory judgment pursuant to 28 U.S.C. §§ 2201, 2202 seeking a judicial

determination of the rights of SPARTA and PGIC under the reinsurance agreement. (Id. ¶¶ 28-



        2
          OneBeacon changed its name to “Bedivere” in 2015. (Def. Opp. at 5 n.6, Dkt. #63). The Court refers to
the company as “OneBeacon” for clarity.


                                                       5
30).

       On October 18, 2021, PGIC moved to dismiss the complaint for lack of subject-matter

jurisdiction under Fed. R. Civ. P. 12(b)(1) and failure to state a claim under Fed. R. Civ. P.

12(b)(6).

       On August 9, 2022, the Court denied PGIC’s motions to dismiss the complaint.

       SPARTA has moved for judgment on the pleadings as to both counts.

       PGIC has cross-moved for judgment on the pleadings as to Count 1. PGIC contends that

Count 1 is not ripe for adjudication because SPARTA has not followed the stock-purchase

agreement’s procedure for presenting claims to be indemnified.

II.    Standard of Review

       A motion for judgment on the pleadings under Rule 12(c) differs from a motion to

dismiss under Rule 12(b)(6) primarily because it is filed after the close of pleadings and

“implicates the pleadings as a whole.” Aponte-Torres v. University of P.R., 445 F.3d 50, 54-55

(1st Cir. 2006). It is, however, treated similarly. See id. at 54. To survive a motion for

judgment on the pleadings, a complaint must state a claim that is plausible on its face. See Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). For a claim to be plausible, the “[f]actual

allegations must be enough to raise a right to relief above the speculative level.” Id. at 555

(internal citations omitted). “The plausibility standard is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 556).

       In determining whether a complaint satisfies that standard, a court must assume the truth

of all well-pleaded facts and give the plaintiff the benefit of all reasonable inferences. See R.G.

Fin. Corp. v. Vergara-Nuñez, 446 F.3d 178, 182 (1st Cir. 2006). In addition to well-pleaded

facts, a court may consider documents incorporated by reference into the complaint, matters of
                                                 6
public record, and facts susceptible to judicial notice. Grajales v. Puerto Rico Auth., 682 F.3d

40, 44 (1st Cir. 2012). A court may also consider documents whose authenticity is not disputed

by the parties and documents central to the plaintiff’s claim, even when those documents are

incorporated into the movant’s pleadings. Curran v. Cousins, 509 F.3d 36, 44 (1st Cir. 2007).

       A court may only enter a judgment on the pleadings “only if the uncontested and properly

considered facts conclusively establish the movant’s entitlement to a favorable judgment.”

Aponte-Torres, 445 F.3d at 54.

III.   PGIC’s Motion for Judgment on the Pleadings

       PGIC contends that the pleadings demonstrate that SPARTA has failed to present it with

a request to pay a specific loss accompanied by an explanation of how the claim amount was

calculated. It contends that because such a presentment is required by the stock-purchase

agreement as a condition precedent for indemnification, there is no actual controversy as to its

obligations under the stock-purchase agreement.

       PGIC raised that argument in its original motion to dismiss. (Def. Mem. at 9, Dkt. #22).

In denying that motion, this Court noted that the amended complaint “appears to allege that

claims are not being declined on an individualized basis, according to individualized coverage

determinations, but that all claims are being declined, regardless of the underlying issues.”

SPARTA Ins. Co. v. Pennsylvania Gen. Ins. Co., 2022 WL 3214947, at *4 (D. Mass. 2022).

However, the Court also noted that it “may revisit questions of justiciability, including ripeness

and Article III standing, as may be necessary or appropriate during the course of the litigation.”

Id. at *6. In substance, PGIC is asking the Court to revisit the issue of ripeness based on exhibits

submitted by SPARTA in support of its own motion for judgment on the pleadings.

       A.      Legal Standard

       The Declaratory Judgment Act requires that there be an “actual controversy” between the

                                                 7
parties before a declaratory judgment may issue. 28 U.S.C. § 2201(a). “[T]he phrase ‘case of

actual controversy’ in the Act refers to the types of ‘Cases’ and ‘Controversies’ that are

justiciable under Article III.” MedImmune, 549 U.S. 118, 127 (2007). PGIC contends that

Count 1 does not involve an actual controversy because it is not ripe.

       The ripeness doctrine is intended to “prevent the adjudication of claims relating to

‘contingent future events that may not occur as anticipated, or indeed may not occur at all.’”

Reddy v. Foster, 845 F.3d 493, 500 (1st Cir. 2017) (quoting Thomas v. Union Carbide Agric.

Prods. Co., 473 U.S. 568, 580-81 (1985)). To be ripe, a complaint must “show that there is a

substantial controversy, between parties having adverse legal interests, of sufficient immediacy

and reality to warrant the issuance of the judicial relief sought.” Reddy, 845 F.3d at 500

(quotation marks and citations omitted). Ripeness analysis has two prongs: hardship and fitness.

See Texas v. United States, 523 U.S. 296, 301 (1998).

       In evaluating hardship, “the court should consider whether the challenged action creates a

direct and immediate dilemma for the parties.” Verizon New England, Inc. v. Int’l Bhd. of Elec.

Workers, Loc. No. 2322, 651 F.3d 176, 188 (1st Cir. 2011) (internal citations and quotation

marks omitted). This prong is “wholly prudential” and “concerns the harm to the parties seeking

relief that would come to those parties from our withholding of a decision at this time.” Reddy,

845 F.3d at 501 (internal quotation marks and citations omitted).

       “The fitness prong ‘has both jurisdictional and prudential components.’” Reddy, 845

F.3d at 501 (quoting Roman Cath. Bishop of Springfield v. City of Springfield, 724 F.3d 78, 89

(1st Cir. 2013)). “The jurisdictional component . . . concerns ‘whether there is a sufficiently live

case or controversy, at the time of the proceedings, to create jurisdiction in the federal courts.’”

Id. “The prudential component . . . concerns ‘whether resolution of the dispute should be



                                                  8
postponed in the name of judicial restraint from unnecessary decision of constitutional issues.’”

Id.

        B.       Analysis

        PGIC contends that Count 1 does not involve an actual case or controversy because

SPARTA has not presented a specific and explained loss arising out of an AEIC policy for PGIC

to indemnify—a condition precedent required by the stock-purchase agreement. On its face, the

current motion raises essentially the same issue that PGIC raised in its motion to dismiss. PGIC

clarifies in its reply that

        [while] [PGIC] was constrained by [SPARTA’s] cryptic pleading in its ability to
        refer to the contents of documents described vaguely by the First Amended
        Complaint, [SPARTA] has now given [PGIC] license to do so by relying on those
        documents in its motion for judgment on the pleadings.

(Def. Reply at 1, Dkt. #76). The distinction, therefore, between this motion and the prior motion

is that PGIC is asking the Court to consider documents submitted by SPARTA in support of its

motion. PGIC contends that those documents show that SPARTA has not properly presented

claims that it is required to indemnify under the stock-purchase agreement, and that any

declaratory judgment concerning its obligations under the stock-purchase agreement would

amount to an advisory opinion.

        The Court will assume, without deciding, that it may consider those documents to be part

of the “pleadings” in ruling on PGIC’s motion. The documents consist principally of

correspondence between representatives of SPARTA and PGIC from May 2021 to September

2021. (See Carroll Decl., Exs. 4-7, Dkt. #61). PGIC contends that the correspondence shows

that SPARTA only sought confirmation that PGIC would indemnify SPARTA when payment

was due—not payment on specific claims as specified under § 8.3 of the stock-purchase

agreement.


                                                9
       PGIC is correct that none of SPARTA’s exhibits appears to show a specific claim

accompanied by “information explaining calculation of the amount of such Claim,” as required

by § 8.3. Nonetheless, those documents are not sufficient to trigger dismissal of the complaint.

As the Court found earlier, the complaint alleges that PGIC has failed to pay all claims,

regardless of the underlying issues. (See Compl. ¶¶ 20-22). Although none of the documents

appears to show a specific, properly presented claim, SPARTA has not asserted that those

communications are the totality of its communications with PGIC regarding claims. (See Pl.

Mem. at 6, Dkt. #60). The documents therefore do not make the bare allegations of the

complaint entirely implausible. Accordingly, judgment on the pleadings as to Count 1 is not

appropriate, as the pleadings sufficiently allege the existence of an actual controversy.

       Of course, this ruling, like the Court’s earlier ruling, is not a final and conclusive

determination that Count 1 can survive summary judgment, or even that it is a ripe dispute. It

may well be true that there is no evidence that SPARTA has properly presented specific claims

to PGIC, and indeed this proceeding could prove to be entirely baseless. But the Court cannot

resolve those questions on a motion for judgment on the pleadings. The motion of PGIC for

judgment on the pleadings will therefore be denied.

IV.    SPARTA’s Motion for Judgment on the Pleadings

       SPARTA contends that judgment on the pleadings is appropriate for both counts. As to

Count 1, it contends that the stock-purchase agreement unambiguously requires PGIC to

indemnify it for claims made against AEIC policies. As to Count 2, SPARTA contends that the

reinsurance agreement unambiguously requires PGIC to administer and pay claims made against

AEIC policies. PGIC contends that affirmative defenses raised in its answer should preclude

judgment on the pleadings, and that discovery will provide evidence that can resolve ambiguities

in both contracts.
                                                 10
       A.      Count 1

       SPARTA contends that the stock-purchase agreement requires PGIC to indemnify it for

claims made against AEIC policies. PGIC, among other arguments, again contends that Count 1

is nonjusticiable because SPARTA has not properly presented specific claims for PGIC to

indemnify, as required by § 8 of the stock-purchase agreement.

       As a general proposition, and where there are no factual issues in dispute, a court may

resolve a contract interpretation issue on a motion for judgment on the pleadings. See, e.g., Atain

Specialty Ins. Co. v. Boston Rickshaw LLC, 387 F. Supp. 3d 157, 160 (D. Mass. 2019). That is

not the situation here. Viewing the facts in the light most favorable to PGIC—here, the

nonmoving party—it is plausible that SPARTA has failed to comply with one or more conditions

precedent under the contract; that one or more of PGIC’s affirmative defenses is valid; or that

PGIC should prevail for some other reason. As noted, the stock-purchase agreement requires

that SPARTA present specific claims with information explaining the calculation of each claim.

Assuming that PGIC’s characterization of SPARTA’s May-September 2021 correspondence is

correct, SPARTA has not properly presented claims that would trigger PGIC’s duty to indemnify

under the stock-purchase agreement. A judgment on the pleadings as to Count 1 is therefore

inappropriate. See MedImmune, 549 U.S. at 127.

       B.      Count 2

       SPARTA asserts that the reinsurance agreement unambiguously requires PGIC to

administer and pay claims made under AEIC policies.

       The parties dispute whether the reinsurance agreement requires PGIC to administer

claims, as opposed to indemnify claims. The agreement transfers “all of the liabilities and

assets” of AEIC to PGIC. (Reinsurance Agreement §§ 2, 3). It defines “assets” to include

“direct insurance policies and endorsements in respect thereto.” (Id. § 4). It defines “liabilities”

                                                 11
as including “unpaid losses and loss adjustment expenses and any and all liabilities” arising from

the insurance policies and endorsements. (Id. § 5). It also declares that “all liabilities of every

nature and description . . . shall attach to and be assumed by [PGIC] and may be enforced against

[PGIC] to the same extent as if such liabilities had been originally incurred or contracted by

[PGIC].”

       PGIC contends that the reinsurance agreement should be read in light of language in the

stock-purchase agreement and treated as indemnity reinsurance, under which a reinsurer has a

duty to indemnify claims but no duty to administer claims. SPARTA argues that the reinsurance

agreement reflects an unambiguous commitment on PGIC’s part to administer claims.

       Contract interpretation is a matter of law for the court to resolve. Nonetheless, at this

stage, it is not necessary to resolve the dispute concerning the language of the reinsurance

agreement, because PGIC has asserted 28 affirmative defenses, at least several of which are

plausible. The language of the reinsurance and stock-purchase agreements does not clearly

preclude the assertion of all such defenses. Contra HSBC Realty Credit Corp. (USA) v. O’Neill,

2013 WL 362823, at *7 (D. Mass. Jan. 30, 2013) (finding that defendant’s affirmative defenses

were “flatly contradicted” by the plain language of the contract).

       To give a single example, the reinsurance agreement does not by its terms clearly

preclude PGIC’s defense that OneBeacon is the real party in interest and that SPARTA assented

to a novation that transferred PGIC’s liabilities to OneBeacon. Viewing the facts in the light

most favorable to PGIC, SPARTA knew that PGIC had ceded its liabilities and business to

OneBeacon in 2001. And SPARTA was aware that before and after the 2007 consummation of

the stock-purchase agreement, PGIC had ceded its insurance obligations to OneBeacon. Further,

SPARTA tendered claims related to AEIC policies to OneBeacon for years after PGIC’s sale to a



                                                 12
third party in 2012. PGIC argues that SPARTA’s post-2012 conduct shows that it assented to

OneBeacon’s assumption of PGIC’s liabilities.

       At the end of the day, that defense may prove to be unsupported by the evidence. But

“[w]hether a novation has occurred is a question for the trier of fact.” Johnston v. Holiday Inns,

Inc., 565 F.2d 790, 796 (1st Cir. 1977). “A novation may be inferred from the circumstances and

from the conduct of the parties.” Clark v. General Cleaning Co., 345 Mass. 62, 64 (1962). It

may be difficult for a defendant to show that a plaintiff has consented to a novation by accepting

payment from a third party rather than the defendant. See Union Mut. Life Ins. Co. v. Chrysler

Corp., 793 F.2d 1 (1st Cir. 1986). However, the Court is unwilling to declare that the facts as

asserted by PGIC in the pleadings preclude a finding of novation. The language of the

reinsurance agreement does not prohibit a novation. PGIC contends that the stock-purchase

agreement requires written consent for amendment or assignment, but Count 2 is premised on

SPARTA’s rights under the reinsurance agreement, not the stock-purchase agreement.

Furthermore, a novation operates as a subsequent agreement, and therefore could supersede the

stock-purchase agreement. See RESTATEMENT (SECOND) OF CONTRACTS § 280 (Am. L. Inst.

2022) (“A novation is a substituted contract.”); Cincinnati Ins. Co. v. Leighton, 403 F.3d 879,

888 (7th Cir. 2005).

       In any event, the issue cannot be resolved in the context of a motion for judgment on the

pleadings. The motion will therefore be denied as to Count 2.

V.     Conclusion

       For the foregoing reasons, the motion for judgment on the pleadings of plaintiff SPARTA

Insurance Company, and the motion for judgment on the pleadings of defendant Pennsylvania

General Insurance Company, are DENIED.



                                                13
So Ordered.


                           /s/ F. Dennis Saylor IV
                           F. Dennis Saylor IV
Dated: January 13, 2022    Chief Judge, United States District Court




                          14
